     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 1 of 20 Page ID #:1



 1   Christopher J. Hamner, Esq. (SBN 197117)
 2   HAMNER LAW OFFICES, APLC
     26565 West Agoura Road, Suite 200-197
 3   Calabasas, California 91302
 4   Telephone: (888) 416-6654
     chamner@hamnerlaw.com
 5

 6   (Continued on next page)
 7
     Attorneys for Plaintiffs Ana Avila, Alma Avila Doroteo and the proposed class
 8
                         UNITED STATES DISTRICT COURT
 9

10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     ANA AVILA, an individual        Case No.
12
     California resident, ALMA AVILA
13   DOROTEO, an individual          CLASS ACTION COMPLAINT FOR:
     California resident, and the    1. FAILURE TO PAY MINIMUM
14
     proposed class,                    WAGES
15                                   2. FAILURE TO PAY OVERTIME
16
                  Plaintiff             WAGES
                                     3. VIOLATION OF THE FAIR LABOR
17                    v.                STANDARDS ACT (29 U.S.C.
18                                      § 201, et seq.)
     TRINET HR XI, INC., dba         4. FAILURE TO PROVIDE REST
19   HAMPTON INN NORCO, a               BREAKS
20
     Delaware corporation,           5. FAILURE TO PROVIDE MEAL
     MAGNOLIA HOSPITALITY               PERIODS
21   GROUP, INC., A California       6. WAGE STATEMENT VIOLATIONS
22   Corporation, MAGNOLIA           7. UNFAIR BUSINESS PRACTICES
     HOSPITALITY, LLC, a Nevada         (BUS. & PROF. CODE §§ 17200-17208)
23   company of unknown form, and    8. VIOLATION OF THE PRIVATE
24   DOES 1 THROUGH 10,                 ATTORNEYS GENERAL ACT (Labor
     inclusive,                         Code Section 2698 et seq.)
25
                                     9. INJUNCTION
26                Defendant.         10. FAILURE TO PAY WAGES OF
                                        TERMINATED OR RESIGNED
27
                                        EMPLOYEES
28
                                        DEMAND FOR JURY TRIAL
                                            1                      ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 2 of 20 Page ID #:2



 1   Jose Garay (SBN 200494)
 2   Jose Garay, APLC
     25255 Cabot Road, Suite 219
 3   Laguna Hills, CA 92653
 4   (949) 208-3400
     jose@garaylaw.com
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          2                    ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 3 of 20 Page ID #:3



 1         Plaintiffs Ana Avila and Alma Avila Doroteo (hereinafter “Plaintiffs”) on
 2   behalf of themselves and the proposed class, bring the following causes of action
 3   against Defendants.
 4
                                   I.     THE PARTIES
 5
          A.      Plaintiff
 6
          1.      Plaintiff Ana Avila is a California resident. At all relevant times
 7
     within the liability period, Plaintiff was employed by Defendants.
 8
          2.      Plaintiff Alma Avila Doroteo is a California resident. At all relevant
 9
     times within the liability period, Plaintiff was employed by Defendants.
10
          B.      Defendants
11
          3.      Defendant Trinet HR XI, Inc. dba Hampton Inn Norco, a Delaware
12
     corporation, owns and operates the Hampton Inn, in Norco, California, and
13
     regularly and systematically does business in Los Angeles County.
14

15
          4.      Defendant Magnolia Hospitality Group, Inc., a California

16   Corporation, owns and operates the Hampton Inn, in Norco, California, and

17   regularly and systematically does business in Los Angeles County.
18        5.      Defendant Magnolia Hospitality, LLC, a Nevada company of
19   unknown form, owns and operates the Hampton Inn, in Norco, California, and
20   regularly and systematically does business in Los Angeles County.
21        6.      The true names and capacities, whether individual, corporate,
22   associate, or otherwise, of Defendants sued herein as DOES 1 through 10,
23   inclusive, are currently unknown to Plaintiffs, who therefore sues such Defendant
24   by such fictitious names. Plaintiffs are informed and believe, and based thereon
25   alleges, that Defendants designated herein as a DOE are legally responsible in
26   some manner for the unlawful acts referred to herein. Plaintiffs will seek leave of
27   court to amend this complaint to reflect the true names and capacities of the
28

                                               3                       ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 4 of 20 Page ID #:4



 1   Defendants designated hereinafter as DOES when such identities become known.
 2        7.       Defendant Trinet HR XI, Inc. dba Hampton Inn Norco, Magnolia
 3   Hospitality Group, Inc., and Defendant Magnolia Hospitality, LLC are hereinafter
 4   collectively referred to as “Defendants”.
 5                           II.    GENERAL ALLEGATIONS
 6
          8.       Plaintiff Doroteo worked as a non-exempt housekeeper for
 7
     Defendants from April 15, 2015 to January 2, 2019.
 8
          9.       Plaintiff Avila currently works as a non-exempt housekeeper for
 9
     Defendants.
10
          10.      Plaintiffs allege that Defendants engaged and continue to engage in
11
     uniform and unlawful conduct resulting in violation of Labor Code §§ 201, 202,
12
     203, 204, 226, 226.7, 510, 1194, and 2750.5.
13
           11.     Plaintiffs allege Defendants failed to pay Plaintiffs and the proposed
14

15
     class all wages owed, including overtime, and failed to reimburse Plaintiffs for

16
     business expenses, and mileage.

17
           12.     Plaintiffs allege Plaintiffs and the class they seek to represent are

18   entitled to regular pay, plus overtime pay for each overtime hour worked.

19         13.     Plaintiffs allege that Defendants’ corporate policies and procedures

20   are such that Plaintiff and the class she seeks to represent were not able to, or
21   permitted to, take timely, interrupted and uncontrolled rest and meal breaks.
22         14.     Plaintiffs allege Defendants’ maintained a company-wide policy and
23   practice to essentially not allow its employees and opportunity to be able to take
24   timely breaks or lunch periods pursuant to the Labor Code, Industrial Welfare
25   Commission Wage Order 5-2001, and other applicable Wage Orders.
26         15.     Plaintiffs allege that Defendants knew or should have known that
27   Defendants’ company-wide policies, or lack thereof, and procedures prevented
28

                                                 4                       ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 5 of 20 Page ID #:5



 1   Defendants’ employees from taking timely, uninterrupted and uncontrolled rest
 2   and meal breaks.
 3         16.    Plaintiffs allege restitution is owed to Plaintiffs and the proposed
 4
     class for unpaid wages for late, unprovided and interrupted meal and rest periods.
 5
           17.    Plaintiffs allege they and the proposed class were not paid legal and
 6
     proper overtime wages in violation of California Labor Code Section 510, and the
 7
     FLSA.
 8
           18.    Defendants’ pay policies as alleged herein resulted in a failure to pay
 9
     all wages due for compensable work time while Plaintiffs and the proposed class
10
     remained subject to their employers’ control. Plaintiffs allege this policy and
11
     practice violated California Labor Code sections 200-202, 510 and 1194, and
12
     California Industrial Wage Commission (IWC) Wage Order 4-2001.
13
           19.    As a result of the Defendants’ unlawful pay policies as alleged
14
     herein, Defendants failed to provide accurate, itemized wage statements to
15
     Plaintiff and the proposed class as required by Labor Code section 226.
16
           20.    On April 26, 2020, Plaintiff Avila filed a Private Attorney General
17
     Act (PAGA) complaint with California’s Labor Workforce Development Agency
18
     (LWDA).
19

20
                               III.   CLASS ALLEGATIONS

21
           21.    Plaintiffs seek to represent the following class pursuant to Federal

22
     Rule of Civil Procedure Rule 23:

23                All persons who have worked for Defendants in California as a
24                non-exempt hotel worker in the last 4 years and continuing.
25               Plaintiffs reserve the right to amend this class definition.
26         22.    Numerosity. The members of the proposed class are so numerous that
27   their individual joinder is impracticable. Plaintiffs are informed and believe, and on
28   that basis alleges, that the proposed class contains hundreds of thousands of

                                                5                        ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 6 of 20 Page ID #:6



 1   members. The precise number of proposed class members is unknown to Plaintiffs.
 2   The true number of the proposed class is known by the Defendants, however, and
 3   thus, may be notified of the pendency of this action by first class mail, electronic
 4
     mail, and by published notice.
 5
              23.   Existence and Predominance of Common Questions of Law and
 6
     Fact. Common questions of law and fact exist as to all members of the proposed
 7
     class and predominate over any questions affecting only individual proposed class
 8
     members. There are common legal and factual questions regarding, among other
 9
     things, whether Plaintiffs and the class they seek to represent are owed unpaid
10
     wages and unpaid overtime, and how much Defendants owe Plaintiffs and the
11
     proposed class.
12
              24.   Typicality. Plaintiffs’ claims are typical of the claims of the proposed
13
     class.
14
              25.   Adequacy of Representation. Plaintiffs will fairly and adequately
15

16
     protect the interests of the members of the proposed class. Plaintiffs have retained

17   counsel experienced in complex class action litigation. Plaintiffs intend to

18   prosecute this action vigorously. Plaintiffs have no adverse or antagonistic
19   interests to those of the proposed class.
20            26.   Superiority. A class action is superior to all other available means for
21   the fair and efficient adjudication of this controversy. The damages or other
22   financial detriment suffered by individual proposed class members is relatively
23   small compared to the burden and expense that would be entailed by individual
24   litigation of their claims against the defendant. It would thus be virtually
25   impossible for the class, on an individual basis, to obtain effective redress for the
26   wrongs done to them. Furthermore, even if proposed class members could afford
27   such individualized litigation, the court system could not. Individualized litigation
28

                                                 6                      ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 7 of 20 Page ID #:7



 1   would create the danger of inconsistent or contradictory judgments arising from the
 2   same set of facts. Individualized litigation would also increase the delay and
 3   expense to all parties and the court system from the issues raised by this action. By
 4
     contrast, the class action device provides the benefits of adjudication of these
 5
     issues in a single proceeding, economies of scale, and comprehensive supervision
 6
     by a single court, and presents no unusual management difficulties under the
 7
     circumstances here.
 8
                               III.   CAUSES OF ACTION
 9

10
                               FIRST CAUSE OF ACTION

11
          Failure to Pay Minimum Wage (Labor Code §§ 1194, 1197 and 1197.1)

12         27.    Plaintiffs reallege and incorporates by reference each of the
13   foregoing paragraphs as if set forth herein.
14         28.    Defendants illegally failed to pay wages and overtime wages owed,
15   and in so doing, Defendants willfully violated the provisions of Labor Code
16   sections 510, 1194, 1198, 1199, IWC Wage Order and California Code of
17   regulations, Title 8, section 11160(3).
18         29.    Plaintiffs all actual, consequential and incidental losses and
19   damages, according to proof, and also, penalties of $100.00 for the initial failure
20
     to timely pay minimum wages and $250.00 for each subsequent failure to pay
21
     minimum wages pursuant to California Labor Code section 1197.1, in an amount
22
     equal to the wages unlawfully unpaid and interest thereon pursuant to California
23
     Labor Code section 1194.2 and all unpaid wages and civil penalties pursuant to
24
     California Labor Code section 2699(g) and (g) and 558 in an amount of one
25
     hundred dollars ($100) for each violation per pay period for the initial violation
26
     and two hundred dollars ($200) per pay period for each subsequent violation, plus
27
     costs and attorneys’ fees for violation of California Labor Code section 1198.
28

                                               7                       ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 8 of 20 Page ID #:8



 1                            SECOND CAUSE OF ACTION
 2                         Failure to Pay Overtime Wages
 3    (Labor Code §§ 510, 1194, 1198, and 1199, IWC Wage Orders, and Related
                                      Violations)
 4

 5         30.    Plaintiffs reallege and incorporate by reference each of the
 6
     foregoing paragraphs as if set forth herein.
 7
           31.    Defendants illegally failed to pay overtime wages to Plaintiffs and
 8

 9   the proposed class, and in so doing, Defendants willfully violated the provisions
10
     of Labor Code sections 510, 1194, 1198, 1199, IWC Wage Orders, and California
11

12
     Code of regulations, Title 8, section 11160(3).

13         32.    California law requires employers to pay overtime compensation to
14
     all non-exempt employees for all hours worked over 8 in a day or 40 per week for
15

16   overtime and to pay double time or shifts over twelve hours.
17         33.    As a direct and proximate result of Defendants’ unlawful conduct, as
18
     set forth herein, Plaintiffs have sustained damages, including loss of compensation
19

20   for overtime worked on behalf of Defendants in an amount to be established at
21
     trial, prejudgment interest, and costs and attorney’s fees, pursuant to statute and
22
     other applicable law.
23

24         34.    Plaintiffs allege Defendants are liable to Plaintiffs and the proposed
25
     class for actual wage and hour damages, statutory damages, and attorneys’ fees
26

27   and costs.

28

                                               8                       ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 9 of 20 Page ID #:9



 1                             THIRD CAUSE OF ACTION
 2
                         Violation of the Fair Labor Standards Act
 3                           (“FLSA” 29 U.S.C. § 201, et seq.)
 4
           35.    Plaintiffs reallege and incorporate by reference each of the
 5
     foregoing paragraphs as if fully set forth herein.
 6
           36.    Plaintiffs worked for Defendants without receiving the minimum
 7
     wage for all hours worked, under 29 U.S.C. § 206(a), which provides: “Every
 8
     employer shall pay to each of his employees who in any workweek is engaged in
 9

10
     commerce or in the production of goods for commerce, or is employed in an

11   enterprise engaged in commerce or in the production of goods for commerce,
12   wages at the [minimum wage].”
13         37.    Plaintiffs also allege Defendants required Plaintiffs, as part of their
14   employment, to work without additional compensation, such as overtime pay in
15   excess of the forty hours per week maximum under 29 U.S.C. § 207(a)(1)
16   provides: “Except as otherwise provided in this section, no employer shall employ
17   any of his employees for a workweek longer than forty hours unless such employee
18   receives compensation for his employment in excess of the hours above specified
19   at a rate which is not less than one and one-half times the regular rate at which he is
20   employed.”
21
           38.     Plaintiffs allege Defendants required Plaintiffs, as part of their
22
     employment, to work without compensation for all hours worked, to work beyond
23
     forty hours per week without the payment of overtime compensation therefore
24
     and/or to work at a wage less than the minimum wage, pursuant to, inter alia, 29
25
     U.S.C. §§ 206 and 207(a)(1).
26
           39.    Plaintiffs’ FLSA claims are brought not only for overtime violations,
27
     unpaid off-the-clock hour and minimum wage violations. In the performance of
28

                                                9                       ____________
     COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 10 of 20 Page ID #:10



 1    his duties for Defendants, Plaintiffs and the proposed class often did work over
 2    forty hours per week, yet did not receive straight or overtime compensation for the
 3    work, as required by the FLSA. The precise number of unpaid overtime hours will
 4
      be proven at trial.
 5
            40.    Plaintiffs allege Defendants' violations of the FLSA were willful and
 6
      are ongoing. As a result of the foregoing, Plaintiffs seek judgment against
 7
      Defendants for unpaid wages, including overtime wages owed by Defendants
 8
      pursuant to 29 U.S.C. §§ 206 and 207, together with an award of an additional
 9
      equal amount as liquidated damages, and costs, interests, and reasonable attorneys’
10
      fees, pursuant to 29 U.S.C. § 216(b).
11
                               FOURTH CAUSE OF ACTION
12
                             Failure to Provide Rest Breaks
13
        (Labor Code § 226.7, 512; IWC Order 5; Cal. Code Regs., Title 8 § 11050)
14
            32.    Plaintiffs reallege and incorporate by reference each of the
15

16    foregoing paragraphs as if fully set forth herein.
17
            33.    By failing to provide rest periods every four (4) hours or major
18
      fraction thereof worked per workday by non-exempt employees, and failing to
19

20    provide one (1) hour’s pay in lieu thereof, Defendants willfully violated the
21
      provisions of Labor Code section 226.7 and IWC Wage Orders at section 12.
22

23
            41.    By failing to keep adequate time records as required by sections 226

24    and 1174(d) of the Labor Code and IWC Wage Order at section (7), Defendants
25
      have injured Plaintiffs and made it difficult to calculate the unpaid rest and meal
26

27

28

                                                10                      ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 11 of 20 Page ID #:11



 1    period compensation due Plaintiffs. On information and belief, Plaintiffs allege
 2
      Defendants’ failure to maintain accurate time records for its workers was willful.
 3

 4          42.     As a result of the unlawful acts of Defendants, Plaintiffs and the
 5    proposed class have been deprived of premium wages in amounts to be
 6
      determined at trial, and are entitled to an accounting and recovery of such
 7

 8    amounts, plus interest and penalties thereon, attorneys fees and costs, under Labor
 9
      Code sections 201,202, 203, 218.5, 226, 226.7, 1194 and 1199, and the applicable
10
      IWC Wage Orders.
11

12          43.    Plaintiffs allege Defendants are liable to Plaintiffs and the proposed
13
      class for actual damages, statutory damages, and attorneys’ fees and costs.
14

15                              FIFTH CAUSE OF ACTION
16                             Failure to Provide Meal Periods
17                              (Labor Code § 226.7 and 512)
18          44.    Plaintiffs reallege and incorporate by reference each of the
19
      foregoing paragraphs as if fully set forth herein.
20

21          45.     California law, as set forth in relevant part by the Industrial Welfare
22
      Commission Wage Orders at section (11), provides as follows:
23

24
                          i. No employer shall employ any person for a work period or

25                           more than five (5) hours without a meal period of not less
26
                             than 30 minutes…
27

28

                                                11                       ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 12 of 20 Page ID #:12



 1                       ii. If an employer fails to provide an employee a meal period
 2
                             in accordance with the applicable provisions of this Order,
 3

 4                           the employer shall pay the employee one (1) hour of pay at
 5                           the employee’s regular rate of compensation for each work
 6
                             day that the meal period is not provided.
 7

 8          46.    Labor Code § 226.7 requires payment of one (1) hour of pay in lieu
 9
      of meal periods not provided by the employer. Throughout the period applicable
10
      to this cause of action, Defendants consistently failed to allow and provide meal
11

12    periods to Plaintiffs and the proposed class, required by California law.
13
            47.    Plaintiffs allege Defendants required Plaintiffs to work during meal
14

15    periods mandated by the applicable orders of the Industrial Welfare Commission.
16          48.    On information and belief, Plaintiffs allege they did not voluntarily
17
      or willfully waive rest and meal periods and was regularly required to work
18

19    through rest and meal periods. Defendants failed to meet the requirements for
20
      lawful on-duty rest and meal periods and instead instituted a course of conduct
21
      that created a working environment in which non-exempt employees were
22

23    discouraged from, or not able to take rest and meal periods. Plaintiffs allege that
24
      any written waivers were obtained improperly and without full disclosure, and are
25

26    thus involuntary and without consent.

27          49.    Plaintiffs allege Defendants are liable to Plaintiffs and the proposed
28

                                                12                       ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 13 of 20 Page ID #:13



 1    class for actual damages, statutory damages, and attorneys’ fees and costs.
 2
                                 SIXTH CAUSE OF ACTION
 3

 4                                Wage Statements Violations
                                    (Labor Code §226(a))
 5

 6          50.    Plaintiffs reallege and incorporate by reference each of the
 7
      foregoing paragraphs as if fully set forth herein.
 8
            51.    Section 226(a) of the California Labor Code requires Defendants to
 9

10    itemize all wage statements deductions from payment of wages and to accurately
11
      report total hours worked by Plaintiffs and the proposed class. Plaintiffs alleges
12

13
      Defendant has knowingly and intentionally failed to comply with Labor Code

14    section 226(a) on each and every wage statement provided to Plaintiffs.
15
            52.    California Labor Code § 226(a) sets forth reporting requirements for
16

17    employers when they pay wages: Every employer shall at the time of each
18    payment of wages, furnish each of his or her employees an accurate itemized
19
      statement in writing showing (1) gross wages earned, (2) total hours worked, (3)
20

21    the number of piece rate units worked or earned, (4) all deductions, (5) net wages
22
      earned, (6) the inclusive dates for the period paid, (7) partial social security
23

24
      number, (8) the name and address of the legal entity that is the employer, and (9)

25    all applicable hourly rates in effect during the pay period and the corresponding
26
      number of hours worked at each hourly rate by the employee.
27

28          53.    As a consequence of Defendants’ knowing and intentional failure to

                                                 13                       ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 14 of 20 Page ID #:14



 1    comply with Labor Code section 226(a), Plaintiffs and the proposed class are
 2
      entitled to actual damages or penalties not to exceed $4,000.00 pursuant to Labor
 3

 4    Code section 226(b), together with interest thereon and attorneys’ fees and costs.
 5                            SEVENTH CAUSE OF ACTION
 6
                         Violations of the Unfair Competition Law
 7
                           (Bus. & Prof. Code, §§ 17200-17208)
 8          54.    Plaintiffs reallege and incorporate by reference each of the
 9
      foregoing paragraphs as if fully set forth herein.
10

11          55.    Defendants’ policy and practices alleged herein resulted in the
12
      Defendants’ failure to pay for all working hours and failure to pay overtime, as
13
      mandated by law. Plaintiffs allege Defendants have violated IWC Wage Orders
14

15    and California Labor Code by engaging in the violations alleged herein, which
16
      constitute unlawful activity prohibited by Business and Professions Code section
17

18    17200 et seq.
19          56.    The actions of Defendants in failing to pay Plaintiffs and the
20
      proposed class in a lawful manner constitutes false, unfair, fraudulent and
21

22    deceptive business practices within the meaning of Business and Professions
23
      Code, sections 17200, et. seq.
24
            57.    Plaintiffs are entitled to an injunction, specific performance under
25

26

27

28

                                                14                      ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 15 of 20 Page ID #:15



 1    Business and Professions Code, section 17202, and other equitable relief against
 2
      such unlawful practices in order to prevent future loss, for which there is no
 3

 4    adequate remedy at law.
 5          58.    As a result of Defendants unlawful acts, Defendants have reaped and
 6
      continue to reap unfair benefits at the expense of Plaintiffs and the proposed class.
 7

 8    Defendants should be enjoined from this activity, caused to specifically perform
 9
      their obligations, and made to disgorge these ill-gotten gains, and restore to
10
      Plaintiffs and the proposed class wrongfully withheld wages and other moneys
11

12    pursuant to Business and Professions Code, sections 17200 et seq. Plaintiffs are
13
      informed and believe, and on that basis allege, that Defendants are unjustly
14

15    enriched through their failure to provide wages and overtime wages to Plaintiffs
16    and the proposed class.
17
            59.    Plaintiffs and the proposed class have been prejudiced by
18

19    Defendants’ unfair trade practices.
20
            60.    As a direct and proximate result of the unfair business practices of
21
      Defendants, and each of them, Plaintiffs and the proposed class are entitled to
22

23    equitable and injunctive relief, full restitution, specific performance, and
24
      disgorgement.
25

26          61.    The illegal conduct alleged herein is continuing and there is no

27

28

                                                15                       ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 16 of 20 Page ID #:16



 1    indication that Defendants will discontinue such activity in the future. Plaintiffs
 2
      alleges that if Defendants are not enjoined from the conduct set forth in this
 3

 4    Complaint, Defendants will continue to fail to pay wages owed.
 5          62.    Plaintiffs request that the court issue a preliminary and permanent
 6
      injunction prohibiting Defendants from continuing to fail to pay all wages owed.
 7

 8                             EIGHTH CAUSE OF ACTION
 9
                        Violation of the Private Attorneys General Act
10                                  (Labor Code §§ 2698)
11
            63.    Plaintiff Ana Avila realleges and incorporates by reference each of
12

13
      the foregoing paragraphs as if fully set forth herein.

14          64.    As a result of the acts alleged above, Plaintiff Ana Avila seeks
15
      penalties under all Labor Code Sections, including but not limited to, 201, 202,
16

17    203, 226, 226.7, 226.8, 510, 512, 1174, 1175, 1182.12, 1194, 1197, 1197.1, 1198,
18    1199, and 2802.
19
            65.    For each such violation, Plaintiff Ana Avila is entitled to penalties in
20

21    an amount to be shown at the time of trial subject to the following formula.
22
                      1. For $100 for the initial violation per pay period.
23

24
                      2. For $200 for each subsequent violation per pay period.

25          66.    These PAGA penalties shall be allocated 75% to the Labor and
26
      Workforce Development Agency (“LWDA”) and 25% to the affected employee.
27

28          67.    Plaintiff filed a PAGA complaint online with the LDWA on or about

                                                16                      ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 17 of 20 Page ID #:17



 1    April 26, 2020, and served Defendants by certified mail as prescribed by the
 2
      Labor Code. Plaintiff Ana Avila seeks penalties as though the LWDA decided not
 3

 4    to investigate pursuant to Labor Code §2699.3 (a)(2)(A).
 5          68.    Defendants have violated and continues to violate Labor Code
 6
      sections 201, 202, 203, 226, 226.7, 226.8, 510, 512, 1174, 1175, 1182.12, 1194,
 7

 8    1197, 1197.1, 1198, 1199, and 2802 as it pertains to Plaintiff Ana Avila.
 9
                                NINTH CAUSE OF ACTION
10

11
                                           Injunction

12          69.    Plaintiffs incorporate all previous paragraphs of this complaint as
13
      though fully set forth herein.
14

15          70.    Plaintiffs and the proposed class see injunctive relief to prohibit the
16    continuing unlawful acts alleged herein.
17
            71.    Defendants’ practices caused Plaintiffs and the proposed class to
18

19    suffer damages, and continue to cause wage and hour damages, fees and costs to
20
      members of the proposed class who currently still work for Defendants.
21
            72.    Plaintiffs and the proposed class seek to enjoin Defendants from
22

23    continuing their ongoing wage and hour violations at Defendants’ place of
24
      business.
25

26          73.    Plaintiffs and the proposed class do not have a plain, speedy, and

27

28

                                                 17                      ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 18 of 20 Page ID #:18



 1    adequate remedy in the ordinary course of law, other than the requested injunctive
 2
      relief.
 3

 4                                TENTH CAUSE OF ACTION
 5                       Failure to Pay Wages of Terminated Employees
 6                                    (Labor Code § 201-203)
 7              74.   Plaintiff realleges and incorporates by reference each of the foregoing
 8    paragraphs as if fully set forth herein.
 9              75.   As of the filing of the Complaint, Defendant failed to timely pay
10    wages due, and Plaintiff is owed penalties pursuant to Labor Code sections 201,
11    202, 203.
12              76.   Defendant failed to pay Plaintiff said employees, without abatement,
13
      all wages owed to Plaintiff (as defined by applicable California law) within the
14
      time required by applicable California law. Among other things, these employees
15
      were never paid any of the overtime compensation referred to in this Complaint,
16
      nor were they paid the other unpaid wages referred to in this Complaint.
17
      Defendants’ failure to pay said wages within the required time was willful within
18
      the meaning of Labor Code section 203.
19
           77.        Therefore, each of these employees is entitled to one day’s wages for
20
      each day he or she was not timely paid all said wages due, up to a maximum of
21
      thirty days’ wages for each employee. Because none of said employees were ever
22
      paid the overtime wages to which they were entitled, and were never paid other
23
      unpaid wages referred to in this Complaint, each of said employees is entitled to
24

25
      thirty days’ wages.

26
           78.        Plaintiff alleges Defendant is liable to Plaintiff for actual damages,

27    statutory damages, and attorneys’ fees and costs.

28

                                                   18                      ____________
      COMPLAINT
     Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 19 of 20 Page ID #:19



 1                                               IV.
 2                                 PRAYER FOR RELIEF
 3          Plaintiffs pray as follows:
 4
            1. That the Court determine that the failure of the Defendants to pay
 5
      compensation to the Plaintiffs are adjudged and decreed to violate the applicable
 6
      IWC Wage Orders, regulations and statutes;
 7
            2. That the Defendants are ordered to pay and judgment be entered for
 8
      wages for Plaintiffs according to proof;
 9
            3. That the Defendants are ordered to pay and judgment be entered for
10
      overtime wages, to Plaintiffs according to proof;
11
            4. That the Defendants are ordered to pay and judgment be entered for
12
      liquidated damages under Labor Code section 1194.2 to Plaintiffs according to
13
      proof:
14
            5. That the Defendants are ordered to pay and judgment be entered for
15
      Labor Code, section 226 penalties to Plaintiffs according to proof;
16
            6. That the Defendants are ordered to pay and judgment be entered for
17

18
      Labor Code, section 226(f) penalties to Plaintiffs according to proof;

19
            7. That the Defendants are ordered to pay and judgment be entered for

20
      Labor Code, section 203 penalties to Plaintiffs according to proof;

21          8. That the Defendants are found to have engaged in unfair competition in

22    violation of Business and Professions Code, section 17200;

23          9. That the Defendants are ordered and enjoined to pay restitution to
24    Plaintiff due to the Defendants’ unlawful and unfair competition, including
25    disgorgement of their wrongfully obtained profits, wrongfully withheld wages
26    according to proof, and interest thereon pursuant to Business and Professions
27    Code, sections 17203 and 17204;
28          10. That Defendants are enjoined from further acts of unfair competition

                                                  19                   ____________
      COMPLAINT
Case 2:20-cv-04215-JWH-JPR Document 1 Filed 05/08/20 Page 20 of 20 Page ID #:20
